          Case 2:19-cr-00049-RMP             ECF No. 32         filed 04/15/19       PageID.89 Page 1 of 3



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 2   Eastern District of Washington
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     Telephone: (509) 353-2767
 6
                               UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF WASHINGTON
 8       UNITED STATES OF AMERICA,
 9
                                             Plaintiff,               2:19-CR-0049-RMP-1
10
11                            v.                                      Motion to Stay Order of Release
12       JAYDIN LEDFORD,                                              Without Oral Argument
13                                                                    April 15, 2019, at 6:30 p.m.
                                           Defendant.
14
15            Plaintiff, United States of America, by and through Joseph H. Harrington,

16 United States Attorney, for the Eastern District of Washington, and Patrick J.
17 Cashman, Assistant United States Attorney for the Eastern District of Washington,
18 hereby moves the Court for an order staying Magistrate’s Order of Release, filed April
                        1
19 15, 2019 (ECF No. 30) .
20            This Motion is based upon the files and records herein and the annexed

21 declaration of AUSA Patrick J. Cashman.
22       Dated: April 15, 2019.

23                                                                 Joseph H. Harrington
24                                                                 United States Attorney

25                                                                 s/ Patrick J. Cashman
26                                                                 Patrick J. Cashman
                                                                   Assistant United States Attorney
27   1
      At the time of this filing an Order of Release had not been filed. ECF No. 30 is the Magistrate Judge’s Minute Entry
28   which details the Magistrate Judge’s order of release.
         Motion to Stay Order of Release - 1
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 1
           I hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that:
 2
           1.     On April 15, 2019 a detention hearing was held in the above entitled
 3
 4 matter before the Honorable Magistrate John T. Rodgers.
 5
           2.     Magistrate Judge Rodgers ruled in favor of the release of the Defendant,
 6
     on certain conditions.
 7
 8         3.     The United States has now filed a motion for review of Magistrate Judge
 9
     Rodgers's Order Denying Government’s Motion for Detention and Setting Conditions
10
     of Release and has requested an expedited hearing on this matter.
11
12         4.     The hearing is scheduled for, April 15, 2019, at 10:00 a.m., before Judge
13
     Rosanna M. Peterson.
14
15         5.     The United States contacted Andrea George, counsel for the Defendant,

16 and she opposes the motion.
17
           I hereby declare under penalty of perjury, that the foregoing is true and correct.
18
19         Executed this 15th day of April, 2019, at Spokane, Washington.

20                                                s/ Patrick J. Cashman
21                                                Patrick J. Cashman
                                                  Assistant United States Attorney
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28
     Motion to Stay Order of Release - 2
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 1
                                CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on April 15, 2019, I electronically filed the foregoing with
 4
     the Clerk of the Court using the CM/ECF system which will send notification of such
 5
     filing to the following:
 6
 7 Andrea George
   Federal Defenders of Eastern Washington and Idaho
 8
 9                                                 s/ Patrick J. Cashman
                                                   Patrick J. Cashman
10
                                                   Assistant United States Attorney
11
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     Motion to Stay Order of Release - 3
